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April 13, 2023

BY ECF

Catherine O’Hagan Wolfe
Clerk of Court
U.S. Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

       Re:       Oakley v. MSG Networks, et al., Case No. 21-2939

Dear Ms. O’Hagan Wolfe:

I write on behalf of Defendants-Appellees (“MSG”) in the above-referenced matter in response
to Appellant’s letter filed earlier today, which requests permission for Appellant’s counsel to
bring a laptop and cell phones into the courtroom so that they may electronically access the
record and briefing in this appeal during the oral argument scheduled for April 17, 2023. See
Dkt. No. 113. MSG does not oppose this request, provided that MSG’s counsel is permitted to
do the same. We therefore respectfully request the Court’s permission for MSG’s counsel to
bring a laptop, and for myself and my colleagues attending the argument—Randy Mastro and
Casey Kyung-Se Lee—to bring our cell phones, into the courtroom for Monday’s oral argument.

We thank the Court for its consideration of this request.

                                                     Respectfully submitted,

                                                     /s/ Lauren Myers
                                                     Lauren Myers



cc: All counsel of record (via ECF)
